                    Case: 25-8002
                   UNITED         Document:
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                                                                    CIRCUIT

                                                     No. 25-8002

                        Atlas Data Privacy Corporation, et al.   vs. Spy Dialer, Inc.

                                                 ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 Spy Dialer, Inc.

Indicate the party’s role IN THIS COURT (check only one):
          ✔ Petitioner(s)
         ____                              ____ Appellant(s)                    ____ Intervenor(s)

         ____ Respondent(s)                ____ Appellee(s)                     ____ Amicus Curiae

(Type or Print) Counsel’s Name Timothy  M. Ortolani, Esq.
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                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL: /s/ Timothy M. Ortolani

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Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
